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     ATLN
1
     Alex J. De Castroverde, Esq.
2    Nevada Bar No. 6950
     Orlando De Castroverde, Esq.
3    Nevada Bar No. 7320
     Kimberly Valentin
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     1149 S. Maryland Parkway
6    Las Vegas, Nevada 89104
7    Tel: 702.222.9999
     Fax: 702.383.8741
8    Email: Kimberly@dlgteam.com
     Attorney for Plaintiff
9
                       UNITED STATES DISTRICT COURT
10                          DISTRICT OF NEVADA
11    ANIMAL WELLNESS ACTION, a non-profit       CASE NO.: 3:22-cv-00034-MMD-CLB
      corporation, CANA FOUNDATION, a non-
12    profit corporation, LAURA LEIGH,
      individually, and WILD HORSE
13    EDUCATION, a non-profit corporation        NOTICE OF LIEN FOR ATTORNEY
              Plaintiff,                         COSTS
14
      v.
15
16    UNITED STATES DEPARTMENT OF
      INTERIOR, BUREAU OF LAND
17    MANAGEMENT, and JON RABY, Nevada
      State Director of the Bureau of Land
18    Management
            Defendant.
19
20
           NOTICE IS HEREBY GIVEN that the undersigned attorney, DE CASTROVERDE
21
     LAW GROUP, makes a claim against ANIMAL WELLNESS ACTION, a non-profit
22
23   corporation,   CANA   FOUNDATION,    a   non-profit   corporation,   LAURA   LEIGH,

24   individually, and WILD HORSE EDUCATION, a non-profit corporation
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27   //

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                                        Page 1 of 3
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     for costs in excess of $250.00, plus interest.
1
2
3           DATED this __2nd__ day of October, 2024.
4
5
                                                       DE CASTROVERDE LAW GROUP
6
7                                                     By:_/s/ Kimberly Valentin______
                                                       Orlando De Castroverde
8                                                      Nevada Bar No. 7320
9                                                      Alex De Castroverde
                                                       Nevada Bar No. 6950
10                                                     Kimberly Valentin
                                                       Nevada Bar No. 12509
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                                                       1149 S. Maryland Parkway
12                                                     Las Vegas, Nevada 89104
                                                       Attorneys for Plaintiff
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                                             Page 2 of 3
     Case 3:22-cv-00034-MMD-CLB Document 97 Filed 10/02/24 Page 3 of 3



                                    CERTIFICATE OF SERVICE
1
2           I HEREBY CERTIFY that on October _2nd_, 2024, I filed the foregoing NOTICE
3
     OF LIEN FOR ATTORNEY COSTS electronically through the CM/ECF system, which
4
     caused all parties or counsel of record to be served by electronic means, as more fully
5
6    reflected on the Notice of Electronic Filing.

7
8                                               _/s/ Lexi Monreal___________________
9                                               An Employee of De Castroverde Law Group

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